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 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11                                            )   Case No.
     STEPHEN BUSHANSKY,
12                                            )
                                              )
13                  Plaintiff,                )
                                              )   COMPLAINT FOR
14                                            )   VIOLATIONS OF THE
                    vs.                       )   FEDERAL SECURITIES
15                                            )   LAWS
     REXNORD CORPORATION, TODD                )
16                                            )   JURY TRIAL DEMANDED
     A. ADAMS, THEODORE D.                    )
17   CRANDALL, ROSEMARY M.                    )
     SCHOOLER, ROBIN A. WALKER-               )
18                                            )
     LEE, MARK S. BARTLETT,                   )
19   JACQUES DONAVON BUTLER,                  )
     DAVID C. LONGREN, GEORGE C.              )
20                                            )
     MOORE, THOMAS D.                         )
21   CHRISTOPOUL, JOHN S. STROUP,             )
     and PEGGY N. TROY,                       )
22                                            )
                                              )
23                         Defendants.        )

24
           Plaintiff Stephen Bushansky (“Plaintiff”), on behalf of himself and all others
25
26 similarly situated, upon information and belief, including an examination and inquiry
27
     conducted by and through his counsel, except as to those allegations pertaining to
28
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 1 Plaintiff, which are alleged upon personal belief, alleges the following for his
 2 Complaint:
 3
                                 NATURE OF THE ACTION
 4
 5         1.     This is an action brought by Plaintiff against Rexnord Corporation

 6 (“Rexnord” or the “Company”) and the members of Rexnord’s Board of Directors (the
 7
     “Board” or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a)
 8
 9 of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a),
10 78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R.
11
   § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant to which
12
13 Rexnord’s Process & Motion Control (“PMC”) segment will be acquired by Regal
14 Beloit Corporation (“Regal”) through Rexnord’s subsidiary Land Newco, Inc.
15
   (“Land”), and Regal’s subsidiary Phoenix 2021, Inc. (“Merger Sub”) (the “Proposed
16
17 Transaction”).
18         2.     On February 16, 2021, Rexnord and Regal issued a joint press release
19
     announcing that they had entered into an Agreement and Plan of Merger dated February
20
21 15, 2021 (the “Merger Agreement”) to sell Rexnord’s PMC segment to Regal. Under
22 the terms of the Merger Agreement: (i) Rexnord will transfer to Land, substantially all
23
   of the assets, and Land will assume substantially all of the liabilities, of the PMC
24
25 segment (the “Reorganization”); (ii) following the Reorganization, all of the issued and
26 outstanding shares of Land common stock, held by an indirect subsidiary of Rexnord
27
   will be distributed in a series of distributions up to Rexnord and then to Rexnord’s
28
                                             -2-
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 1 stockholders (the “Distributions”), and the final distribution of Land common stock
 2 from Rexnord to Rexnord’s stockholders will be made pro rata for no consideration
 3
     (the “Spin-Off”); and (iii) immediately after the Spin-Off, Merger Sub will merge with
 4
 5 and into Land, with Land surviving as a wholly-owned subsidiary of Regal (the
 6 “Merger”), and all shares of Land common stock will be converted into the right to
 7
     receive shares of Regal common stock based on an exchange ratio specified in the
 8
 9 Merger Agreement. When the Merger is completed, Land will be a wholly-owned
10 subsidiary of Regal. Upon closing of the merger, Regal shareholders will own 61.4%
11
   and Rexnord shareholders will own 38.6% of the combined entity (“New Regal”).
12
13       3.     On July 21, 2021, Rexnord filed a Schedule 14A Definitive Proxy

14 Statement (the “Proxy Statement”) with the SEC. The Proxy Statement, which
15
   recommends that Rexnord stockholders vote in favor of the Proposed Transaction,
16
17 omits or misrepresents material information concerning, among other things: (i) the
18 background of the Proposed Transaction; (ii) the data and inputs underlying the
19
   financial valuation analyses that support the fairness opinion provided by the
20
21 Company’s financial advisor, Evercore Group L.L.C. (“Evercore”); and (iii)
22 Evercore’s potential conflicts of interest. Defendants authorized the issuance of the
23
   false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the
24
25 Exchange Act.
26         4.    In short, unless remedied, Rexnord’s public stockholders will be
27
     irreparably harmed because the Proxy Statement’s material misrepresentations and
28
                                  -3-
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 1 omissions prevent them from making a sufficiently informed voting decision on the
 2 Proposed Transaction. Plaintiff seeks to enjoin the stockholder vote on the Proposed
 3
     Transaction unless and until such Exchange Act violations are cured.
 4
 5                             JURISDICTION AND VENUE

 6         5.    This Court has jurisdiction over the claims asserted herein for violations
 7
     of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated
 8
 9 thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28
10 U.S.C. §1331 (federal question jurisdiction).
11
          6.    The Court has jurisdiction over defendants because each defendant is
12
13 either a corporation that conducts business in and maintains operations in this District,
14 or is an individual who has sufficient minimum contacts with this District so as to
15
   render the exercise of jurisdiction by this Court permissible under traditional notions
16
17 of fair play and substantial justice.
18         7.    Venue is proper in this District under Section 27 of the Exchange Act, 15
19
     U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company maintains
20
21 office facilities located in this District; and (ii) defendants have received substantial
22 compensation in this District by doing business here and engaging in numerous
23
   activities that had an effect in this District.
24
25                                     THE PARTIES
26         8.    Plaintiff is, and has been at all times relevant hereto, a continuous
27
     stockholder of Rexnord.
28
                                  -4-
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 1         9.    Defendant Rexnord is a Delaware corporation, with its principal executive

 2 offices located at 511 W. Freshwater Way, Milwaukee, Wisconsin 53204 and offices
 3
     located at 1747 Commerce Way, Paso Robles, California 93446. The Company is a
 4
 5 growth-oriented, multi-platform industrial company with leading market shares and
 6 highly trusted brands that serve a diverse array of global end markets. Rexnord’s
 7
     common stock trades on the New York Stock Exchange under the ticker symbol
 8
 9 “RXN.”
10         10.   Defendant Todd A. Adams (“Adams”) has been President, Chief
11
     Executive Officer (“CEO”) and a director of the Company since 2009 and Chair of the
12
13 Board since 2020.
14         11.   Defendant Theodore D. Crandall (“Crandall”) has been a director of the
15
     Company since 2015.
16
17         12.   Defendant Rosemary M. Schooler (“Schooler”) has been a director of the
18 Company since 2019.
19
         13. Defendant Robin A. Walker-Lee (“Walker-Lee”) has been a director of
20
21 the Company since 2015.
22         14.   Defendant Mark S. Bartlett (“Bartlett”) has been Lead Director since 2020
23
     and a director of the Company since 2012.
24
25         15.   Defendant Jacques Donavon Butler (“Butler”) has been a director of the
26 Company since 2021.
27
28
                                  -5-
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 1         16.   Defendant David C. Longren (“Longren”) has been a director of the

 2 Company since 2016.
 3
           17.   Defendant George C. Moore (“Moore”) has been a director of the
 4
 5 Company since 2015.
 6         18.   Defendant Thomas D. Christopoul (“Christopoul”) has been a director of
 7
     the Company since 2013.
 8
 9         19.   Defendant John S. Stroup (“Stroup”) has been a director of the Company

10 since 2008.
11
          20. Defendant Peggy N. Troy (“Troy”) has been a director of the Company
12
13 since 2019.
14         21.   Defendants identified in paragraphs 10-20 are referred to herein as the
15
     “Board” or the “Individual Defendants.”
16
17                           OTHER RELEVANT ENTITIES
18         22.   Regal is a global leader in the engineering and manufacturing of electric
19
     motors and controls, power generation, and power transmission products, serving
20
21 customers throughout the world. Regal is comprised of four operating segments:
22 Commercial Systems, Industrial Systems, Climate Solutions and Power Transmission
23
   Solutions. Regal is headquartered in Beloit, Wisconsin and has manufacturing, sales,
24
25 and service facilities worldwide.
26         23.   Land is a wholly-owned indirect subsidiary of Rexnord.
27
           24.   Merger Sub is a wholly-owned subsidiary of Regal.
28
                                  -6-
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 1                         SUBSTANTIVE ALLEGATIONS
 2
     Background of the Company
 3
           25.   Rexnord, and its consolidated subsidiaries, is a growth-oriented, multi-
 4
 5 platform industrial company. Rexnord’s business segments consist of Process &
 6 Motion Control and Water Management. The PMC segment designs, manufactures,
 7
   markets and services a broad range of specified, highly-engineered mechanical
 8
 9 components used within complex systems where Rexnord’s customers’ reliability
10
     requirements and costs of failure or downtime are high. The PMC portfolio includes
11
     motion control products, shaft management products, aerospace components and
12
13 related value-added services. Rexnord’s products and services are marketed and sold
14
     globally under widely recognized brand names, including Rexnord, Rex, Addax,
15
     Euroflex, Falk, FlatTop, Cambridge, Link-Belt, Omega, PSI, Shafer, Stearns,
16
17 Highfield, Thomas, Centa and Tollok. This segment had net revenues of $870.4
18
     million in the nine-month transition period ended December 31, 2020 and $1,358.2
19
     million in the fiscal year-ended March 31, 2020.
20
21         26.   The Water Management segment designs, procures, manufactures, and
22
     markets products that provide and enhance water quality, safety, flow control and
23
24 conservation. The Water Management product portfolio includes professional grade
25 water control and safety, water distribution and drainage, finish plumbing, and site
26
     works products primarily for nonresidential buildings.     Rexnord’s products are
27
28 marketed and sold under widely recognized brand names, including Zurn, Wilkins,
                                        -7-
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 1 Green Turtle, World Dryer, StainlessDrains.com, JUST and Hadrian. This segment
 2 had net revenues of $562.7 million in the nine-month transition period ended December
 3
     31, 2020 and $710.1 million in the fiscal year-ended March 31, 2020.
 4
 5         27.   On April 27, 2021, Rexnord announced its first quarter 2021 financial

 6 results. Net income was $50 million, with diluted EPS of $0.40, compared with $29
 7
     million and diluted EPS of $0.23 in the prior year first quarter. Reflecting on the
 8
 9 Company’s results and looking towards the future, defendant Adams stated:
10         Our Water Management (“WM”) platform delivered 12% total sales
11
           growth year over year in the quarter as the acquisitions of Just
12
13         Manufacturing and Hadrian added 8% to WM first-quarter sales growth

14         and core sales were up 4%. The momentum in our order rates accelerated
15
           throughout the quarter and our core orders grew 10% year over year. Our
16
17         unrivaled portfolio of sustainable, smart and water saving solutions for
18         public and private spaces continues to grow above market rates and our
19
           flexible business model positions us to continue to generate strong
20
21         profitability amidst what is a more challenging price/cost environment.
22         The compounding benefits of our longstanding strategic initiatives around
23
           simplification and structural cost reduction were visible in the solid
24
25         incremental margins delivered by our PMC platform when compared with
26         its robust year-ago financial results and given the mix effect from
27
           relatively weaker aerospace end markets. Improving demand patterns
28
                                  -8-
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 1       across most of PMC’s end markets resulted in an increase in PMC’s order

 2       backlog and a 1.10x book-to-bill ratio across PMC’s non-aerospace end
 3
         markets.
 4
 5                                          ***

 6       During the quarter, we also published our 2020 Sustainability Report,
 7
         which reflected an expanded scope and the adoption of the SASB
 8
 9       (Sustainability Accounting Standards Board) framework and reporting.

10       The Sustainability Report highlights our extensive initiatives to support
11
         and protect our associates during the global pandemic, plus our ongoing
12
13       efforts to reduce greenhouse gas emissions and water consumption

14       intensity, our world-class workplace health and safety performance and
15
         our expansive support for the diverse communities where we live and
16
17       work.
18       Given our expectations that the separation of our PMC and WM platforms
19
         will occur during the fourth quarter, we will continue to limit our external
20
21       outlook to the upcoming quarter. Based on the permanent cost reduction
22       initiatives we have implemented, our order backlog heading into the
23
         second quarter, our preliminary view of April results and an anticipated
24
25       range of demand patterns through June, we expect core sales in our WM
26       platform to increase year over year by a high teens percentage and total
27
         reported sales to increase year over year by a high twenties percentage and
28
                                -9-
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 1         its Adjusted EBITDA margin to range between 26% and 27%. We further

 2         expect sales in our PMC platform to increase by a mid-to-high teens
 3
           percentage rate and its Adjusted EBITDA margin to range between 23%
 4
 5         and 24%, and for our corporate expenses to approximate $10 million.

 6 The Proposed Transaction
 7         28.   On February 16, 2021, Rexnord and Regal issued a joint press release
 8
     announcing the Proposed Transaction. The press release states, in relevant part:
 9
10         BELOIT WI, & MILWAUKEE, WI, February 16, 2021 – Regal Beloit
11
           Corporation (NYSE: RBC) and Rexnord Corporation (NYSE: RXN)
12
           today announced that they have reached a definitive agreement whereby
13
14         Rexnord will separate its Process & Motion Control (“PMC”) segment by
15
           way of a tax-free spin-off to Rexnord shareholders and then immediately
16
           combine it with Regal in a Reverse Morris Trust (“RMT”) transaction.
17
18         Regal shareholders will own 61.4% and Rexnord shareholders will own
19
           38.6% of the combined entity (“New Regal”), before a potential dividend
20
           to Regal shareholders and a corresponding ownership adjustment to
21
22         Rexnord shareholders, sized at closing to ensure that RMT ownership
23
           requirements are met. Rexnord shareholders will continue to own 100%
24
25         of the businesses’ Water Management platform.

26
27
28
                                 - 10 -
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 1        With the addition of PMC, Regal’s 2020 pro forma revenue was

 2        approximately $4.1 billion with Adjusted EBITDA of $740 million,
 3
          excluding $120 million in annualized cost synergies expected to be
 4
 5        achieved by year three after closing. The pro forma 2020 EBITDA margin

 6        was approximately 18%.
 7
 8        The transaction combines Regal and PMC’s best-in-class power
 9
          transmission portfolios to drive innovation in industrial power
10
11        transmission and motion control solutions through superior engineering,

12        technology, and manufacturing capabilities.        PMC is a world-class
13
          provider   of   specialized,   highly-engineered    power     transmission
14
15        components and solutions, with a strong portfolio of Industrial Internet of

16        Things (“IIOT”) solutions. The transaction expands Regal’s portfolio,
17
          customer reach, and product diversity while creating shareholder value
18
19        through enhanced growth and substantial cost synergies.

20
          “This   transformative    combination    brings    together   two   highly
21
22        complementary businesses, creating a premier provider of power
23
          transmission products, poised to deliver enhanced value for our
24
25        customers, associates, and shareholders,” said Regal CEO, Louis

26        Pinkham.     “Combining with PMC accelerates our transformation
27
          momentum and is an important step towards our vision to accelerate
28
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 1        profitable growth. We believe this transaction will create meaningful

 2        value for customers by providing comprehensive solutions across the
 3
          entire industrial drive train, increased portfolio and reach, and an
 4
 5        enhanced presence in diverse and attractive end markets and geographies.

 6        Shareholders will benefit from compelling value creation and financial
 7
          benefits, including enhanced growth, cost synergy-driven margin
 8
 9        expansion, attractive ROIC, and earnings accretion.”

10
11        “We have long admired PMC’s products and capabilities, highly-regarded

12        brands, and talented team. Importantly, Regal and PMC are a terrific
13
          cultural fit with a shared commitment to integrity, customer success,
14
15        continuous improvement, and a passion to win. We are confident these

16        shared values and complementary business structures will help facilitate
17
          a seamless transition and fuel our continued success.”
18
19
          Todd Adams, Chairman, President and CEO of Rexnord, commented,
20
          “This transaction provides clear and compelling value for Rexnord
21
22        shareholders through ownership in a combined company with enhanced
23
          scale and significant growth opportunities.      Regal is committed to
24
25        investing in the continued growth of its power transmission business, and

26        we are confident the PMC platform and team are a perfect fit to accelerate
27
          their strategy. Rexnord’s Water Management business will be well-
28
                                - 12 -
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 1        positioned to continue to drive differentiated growth as a standalone

 2        business aligned around its distinct competitive advantages and market
 3
          dynamics.”
 4
 5
          Key Strategic & Financial Benefits
 6
 7
             • Creates a premier player in industrial power transmission with
 8
                complete product portfolio across the entire drive train.       The
 9
10              combination with PMC fills gaps in Regal’s PTS portfolio, creates
11
                a more compelling partner for distributors, and enables Regal to
12
                provide complete drive train solutions across all major applications
13
14              for customers. In addition, the transaction represents an attractive
15
                value proposition for both customers and end users with enhanced
16
17              service capability breadth, technology content and domain

18              expertise.
19
             • Improves end market diversity. Creates new avenues for growth
20
21              through expanded focus outside of North America. Improves end

22              market diversity, with increased exposure to attractive high-growth
23
                end markets including Renewable Energy, Food and Beverage,
24
25              Automation, Aerospace, and eCommerce.           Regal’s combined

26              portfolio is expected to be more balanced, with pro forma 2020 PTS
27
28
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 1              comprising nearly 50% of sales, reducing cyclicality and unlocking

 2              greater portfolio flexibility.
 3
             • Accelerates R&D and digital service capabilities. Combined R&D
 4
 5              fuels the growth of next-generation products and faster

 6              development of value-added features through enhanced innovation
 7
                and reinvestment. Provides opportunity to create world-class IIOT
 8
 9              and digital experience with the Perceptiv™ and DiRXN®
10              platforms, providing innovative new solutions for customers and
11
                end users.
12
13           • Substantial cost synergies of $120 million by year three, with $70
14              million realized in year one. Expected synergies to be driven by
15
                procurement, distribution efficiencies, footprint rationalization, and
16
17              SG&A savings. Regal plans to continue robust investment in
18              technology and innovation.
19
             • Provides significant immediate and long-term value creation and
20
21              financial benefits. The transaction provides attractive ROIC and is
22
                expected to be accretive to cash EPS in year one after closing. In
23
                addition, assuming the mid-point of the expected adjustment
24
25              mechanism range (described below), Regal shareholders would be
26
                expected to receive a dividend of ~$7 per share. The transaction is
27
                expected to leave Regal with a strong balance sheet.
28
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 1           • Unites aligned cultures with deep commitment to 80/20 and LEAN

 2              principles.   Shared cultures focused on serving customers and
 3
                driving efficiency. Talent infusion expected to accelerate 80/20,
 4
 5              LEAN, IIOT, and new product development initiatives.

 6
 7        Governance and Locations

 8
          Upon closing, Regal will be led by its existing Board of Directors with the
 9
10        addition of two new directors from the Rexnord board of directors,
11
          mutually agreed upon by Regal and Rexnord. Rakesh Sachdev will
12
          continue as non Executive Chairman of the Board. Regal’s CEO, Louis
13
14        Pinkham, will lead the combined corporate entity, which will continue to
15
          be headquartered in Beloit, Wisconsin.
16
17
          The combined PTS and PMC business will adopt the Rexnord name and
18
          be headquartered in Milwaukee, Wisconsin. Regal expects it will continue
19
20        to maintain, invest in, and grow its presence in Florence, Kentucky, which
21
          will remain a strategic site.
22
23        Rexnord Chairman, President and CEO, Todd Adams, will continue to
24
          lead the Water Management business, which plans to remain
25
26        headquartered in Milwaukee, Wisconsin.
27
28
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 1        Transaction Structure and Closing Conditions

 2
          Under the terms of the agreement, which has been unanimously approved
 3
 4        by the Boards of Directors of both companies, Regal shareholders will
 5
          own 61.4% and Rexnord shareholders 38.6% in New Regal, before a
 6
          potential dividend to Regal shareholders and a corresponding ownership
 7
 8        adjustment for Rexnord shareholders.
 9
10        The transaction is structured as an RMT and is expected to be tax-efficient
11
          to Regal and Rexnord shareholders for U.S. federal income tax purposes.
12
          Significant shareholder overlap between Regal and Rexnord shareholders,
13
14        and the adjustment mechanism, will ensure that the RMT threshold of
15
          greater-than-50% ownership by Rexnord shareholders in New Regal, after
16
          factoring overlapping shareholders, is met in all circumstances.
17
18
          Based on current information on the size and characteristics of
19
20        overlapping ownership, there is an expected dividend to Regal
21        shareholders, with a corresponding ownership adjustment for Rexnord
22
          shareholders. Based on current information, we expect the dividend to be
23
24        in the range of $100 to $500 million with a mid-point of $300 million.
25
          That midpoint corresponds to ownership in New Regal of 60.0% for Regal
26
          shareholders and 40.0% for Rexnord shareholders post dividend.
27
28
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 1
 2
          The transaction values PMC at $3.69 billion, representing 14.2x 2020
 3
 4        Adjusted EBITDA, or 9.7x after factoring run rate cost synergies. The
 5
          transaction is subject to regulatory approvals, Regal and Rexnord
 6
          shareholder approvals, and customary closing conditions, and is expected
 7
 8        to close in the fourth quarter of 2021.
 9
10                                            ***
11
12        Advisors
13
14        Barclays and Incentrum Group are serving as financial advisors to Regal,

15        and Sidley Austin LLP is serving as legal counsel. Barclays is also
16
          providing Regal with committed financing for the transaction. Citi and
17
18        Evercore are serving as financial advisors to Rexnord, and Morgan, Lewis
19        & Bockius LLP is serving as legal counsel. Credit Suisse is providing
20
          Rexnord with committed financing for the transaction.
21
22
     The Proxy Statement Contains Material Misstatements or Omissions
23
24        29.   The defendants filed a materially incomplete and misleading Proxy

25 Statement with the SEC and disseminated it to Rexnord’s stockholders. The Proxy
26
   Statement misrepresents or omits material information that is necessary for the
27
28
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 1 Company’s stockholders to make an informed decision whether to vote in favor of the
 2 Proposed Transaction.
 3
           30.   Specifically, as set forth below, the Proxy Statement fails to provide
 4
 5 Company stockholders with material information or provides them with materially
 6 misleading information concerning: (i) the background of the Proposed Transaction;
 7
     (ii) the data and inputs underlying the financial valuation analyses that support the
 8
 9 fairness opinion provided by the Company’s financial advisor, Evercore; and (iii)
10 Evercore’s potential conflicts of interest.
11
   Material Omissions Concerning the Background of the Proposed Transaction
12
13      31. The Proxy Statement omits material information regarding the

14 background process leading to the Proposed Transaction.
15
         32. For example, the Proxy Statement fails to disclose whether the non-
16
17 disclosure agreements the Company entered into with seven financial sponsors (Proxy
18 Statement at 77) include “don’t-ask, don’t-waive” (“DADW”) standstill provisions that
19
   are still in effect and presently precluding any of these interested parties from
20
21 submitting a topping bid for the Company.
22         33.   The failure to disclose the existence of DADW provisions creates the false
23
     impression that a potential bidder who entered into a non-disclosure agreement could
24
25 make a superior proposal for the Company. If the potential acquirer’s non-disclosure
26 agreement contains a DADW provision, then that potential bidder can only make a
27
   superior proposal by (a) breaching the confidentiality agreement—since in order to
28
                                          - 18 -
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 1 make the superior proposal, it would have to ask for a waiver, either directly or
 2 indirectly; or by (b) being released from the agreement, which if action has been done,
 3
     is omitted from the Proxy Statement.
 4
 5         34.    Any reasonable Rexnord stockholder would deem the fact that a likely

 6 topping bidder for the Company may be precluded from making a topping bid for the
 7
     Company to significantly alter the total mix of information.
 8
 9         35.    The omission of this material information renders the statements in the

10 “Background of the Merger” section of the Proxy Statement false and/or materially
11
   misleading in contravention of the Exchange Act.
12
13 Material Omissions Concerning Evercore’s Financial Analyses
14         36.    The Proxy Statement omits material information regarding Evercore’s
15
     financial analyses.
16
17         37.    The Proxy Statement describes Evercore’s fairness opinion and the
18 various valuation analyses it performed in support of its opinion. However, the
19
   description of Evercore’s fairness opinion and analyses fails to include key inputs and
20
21 assumptions underlying these analyses. Without this information, as described below,
22 Evercore’s public stockholders are unable to fully understand these analyses and, thus,
23
   are unable to determine what weight, if any, to place on Evercore’s fairness opinion in
24
25 determining whether to vote in favor of the Proposed Transaction.
26         38.    With respect to Evercore’s Discounted Cash Flow Analysis of Regal, the
27
     Proxy Statement fails to disclose: (i) the terminal year estimate of the unlevered, after-
28
                                 - 19 -
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 1 tax free cash flows that Regal was forecasted to generate; (ii) the range of illustrative
 2 terminal values for Regal; (iii) quantification of the inputs and assumptions underlying
 3
     the discount rates ranging from 8.75 to 9.75%; (iv) the estimated net present value as
 4
 5 of December 31, 2020 of certain of Regal’s other debt-like items for Regal’s
 6 fiscal years 2021 through 2024; (v) Regal’s estimated net debt, after-tax underfunded
 7
     pension obligation and non-controlling interest as of December 31, 2020; and (vi) the
 8
 9 number of fully diluted outstanding shares of Regal common stock on a pro forma basis
10 giving effect to the separation and the distributions.
11
         39. With respect to Evercore’s Discounted Cash Flow Analysis of Land, the
12
13 Proxy Statement fails to disclose: (i) the terminal year estimate of the unlevered, after-
14 tax free cash flows that Land was forecasted to generate; (ii) the range of illustrative
15
   terminal values for Land; (iii) quantification of the inputs and assumptions underlying
16
17 the discount rates ranging from 9.0 to 10.0%; (iv) the estimated net present value as of
18 December 31, 2020 of certain of Land’s other debt-like items for Land’s fiscal years
19
   2021 through 2024; and (v) Lands’s estimated net debt, after-tax underfunded pension
20
21 obligation and non-controlling interest as of December 31, 2020.
22         40.   With respect to Evercore’s Pro Forma “Has-Gets” Analysis, the Proxy
23
     Statement fails to disclose and quantify the net present value as of December 31, 2020
24
25 of the projected synergies (excluding any potential revenue synergies) based on the
26 estimated cost savings (net of any costs to achieve the estimated cost savings).
27
28
                                 - 20 -
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 1         41.    The omission of this material information renders the statements in the

 2 “Opinion of Evercore” section of the Proxy Statement false and/or materially
 3
     misleading in contravention of the Exchange Act.
 4
 5 Material Omissions Concerning Evercore’s Potential Conflicts of Interest
 6         42.    The Proxy Statement fails to disclose material information concerning the
 7
     potential conflicts of interest faced by Evercore.
 8
 9         43.    The Proxy Statement sets forth that, “Rexnord also agreed to pay to

10 Evercore, at the conclusion of the assignment, an additional discretionary fee in an
11
   amount not to exceed $3 million, in an amount determined by the Rexnord board of
12
13 directors in its sole and absolute discretion.” Id. at 143. The Proxy Statement fails,
14 however, to disclose the agreed parameters for such additional discretionary fee, the
15
   criteria Evercore needs to satisfy to receive the additional fee, and whether the
16
17 Company anticipates paying Evercore the additional fee.
18         44.    Full disclosure of investment banker compensation and all potential
19
     conflicts is required due to the central role played by investment banks in the
20
21 evaluation, exploration, selection, and implementation of strategic alternatives.
22         45.    The omission of this material information renders the statements in the
23
     “Opinion of Evercore” section of the Proxy Statement false and/or materially
24
25 misleading in contravention of the Exchange Act.
26         46.    The Individual Defendants were aware of their duty to disclose the above-
27
     referenced omitted information and acted negligently (if not deliberately) in failing to
28
                                 - 21 -
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 1 include this information in the Proxy Statement. Absent disclosure of the foregoing
 2 material information prior to the stockholder vote on the Proposed Transaction,
 3
     Plaintiff and the other stockholders of Rexnord will be unable to make an informed
 4
 5 voting decision in connection with the Proposed Transaction and are thus threatened
 6 with irreparable harm warranting the injunctive relief sought herein.
 7
                                    CLAIMS FOR RELIEF
 8
                                            COUNT I
 9
10         Claims Against All Defendants for Violations of Section 14(a) of the
                Exchange Act and Rule 14a-9 Promulgated Thereunder
11
12         47.   Plaintiff repeats all previous allegations as if set forth in full.

13         48.   During the relevant period, defendants disseminated the false and
14
     misleading Proxy Statement specified above, which failed to disclose material facts
15
16 necessary to make the statements, in light of the circumstances under which they were
17 made, not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule
18
   14a-9 promulgated thereunder.
19
20       49. By virtue of their positions within the Company, the defendants were
21 aware of this information and of their duty to disclose this information in the Proxy
22
   Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by the
23
24 defendants.    It misrepresented and/or omitted material facts, including material
25 information about the background of the Proposed Transaction, the data and inputs
26
   underlying the financial valuation analyses that support the fairness opinion provided
27
28
                                 - 22 -
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 1 by Evercore, and Evercore’s potential conflicts of interest. The defendants were at
 2 least negligent in filing the Proxy Statement with these materially false and misleading
 3
     statements.
 4
 5         50.     The omissions and false and misleading statements in the Proxy Statement

 6 are material in that a reasonable stockholder would consider them important in deciding
 7
     how to vote on the Proposed Transaction.
 8
 9         51.     By reason of the foregoing, the defendants have violated Section 14(a) of

10 the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.
11
          52. Because of the false and misleading statements in the Proxy Statement,
12
13 Plaintiff is threatened with irreparable harm, rendering money damages inadequate.
14 Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is
15
   corrected.
16
17                                    COUNT II
18                      Claims Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act
19
20         53.     Plaintiff repeats all previous allegations as if set forth in full.
21         54.     The Individual Defendants acted as controlling persons of Rexnord within
22
     the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
23
24 positions as officers and/or directors of Rexnord, and participation in and/or awareness
25 of the Company’s operations and/or intimate knowledge of the false statements
26
   contained in the Proxy Statement filed with the SEC, they had the power to influence
27
28
                                 - 23 -
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 1 and control and did influence and control, directly or indirectly, the decision-making
 2 of the Company, including the content and dissemination of the various statements
 3
     which Plaintiff contends are false and misleading.
 4
 5         55.    Each of the Individual Defendants was provided with or had unlimited

 6 access to copies of the Proxy Statement and other statements alleged by Plaintiff to be
 7
     misleading prior to and/or shortly after these statements were issued and had the ability
 8
 9 to prevent the issuance of the statements or cause the statements to be corrected.
10         56.    In particular, each of the Individual Defendants had direct and supervisory
11
     involvement in the day-to-day operations of the Company, and, therefore, is presumed
12
13 to have had the power to control or influence the particular transactions giving rise to
14 the securities violations as alleged herein, and exercised the same. The Proxy
15
   Statement at issue contains the unanimous recommendation of each of the Individual
16
17 Defendants to approve the Proposed Transaction. They were, thus, directly involved
18 in the making of the Proxy Statement.
19
          57. In addition, as the Proxy Statement sets forth at length, and as described
20
21 herein, the Individual Defendants were each involved in negotiating, reviewing, and
22 approving the Proposed Transaction. The Proxy Statement purports to describe the
23
   various issues and information that they reviewed and considered—descriptions the
24
25 Company directors had input into.
26         58.    By virtue of the foregoing, the Individual Defendants have violated
27
     Section 20(a) of the Exchange Act.
28
                                 - 24 -
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 1         59.   As set forth above, the Individual Defendants had the ability to exercise

 2 control over and did control a person or persons who have each violated Section 14(a)
 3
     and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as alleged
 4
 5 herein. By virtue of their positions as controlling persons, these defendants are liable
 6 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
 7
     defendants’ conduct, Rexnord’s stockholders will be irreparably harmed.
 8
 9                                PRAYER FOR RELIEF

10         WHEREFORE, Plaintiff demands judgment and preliminary and permanent
11
     relief, including injunctive relief, in his favor on behalf of Rexnord, and against
12
13 defendants, as follows:
14         A.    Preliminarily and permanently enjoining defendants and all persons acting
15
                 in concert with them from proceeding with, consummating, or closing the
16
17               Proposed Transaction and any vote on the Proposed Transaction, unless
18               and until defendants disclose and disseminate the material information
19
                 identified above to Rexnord stockholders;
20
21         B.    In the event defendants consummate the Proposed Transaction, rescinding
22               it and setting it aside or awarding rescissory damages to Plaintiff;
23
           C.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the
24
25               Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;
26         D.    Awarding Plaintiff the costs of this action, including reasonable allowance
27
                 for Plaintiff’s attorneys’ and experts’ fees; and
28
                                 - 25 -
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 1        E.    Granting such other and further relief as this Court may deem just and
                proper.
 2
 3                                    JURY DEMAND

 4        Plaintiff demands a trial by jury on all claims and issues so triable.
 5   Dated: August 19, 2021                      WEISSLAW LLP
 6                                               Joel E. Elkins
 7                                               By: /s/ Joel E. Elkins
 8
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16
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